EXHIBIT 17
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, and AMERICAN                       Case No. __________
 ASSOCIATION OF UNIVERSITY
 PROFESSORS,

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                       Defendants.



                                     Declaration of Kirsten Weld

I, Kirsten Weld, declare as follows:

       1.      I am a tenured Professor of History at Harvard University.

       2.      I have a PhD in history from Yale University as well as MPhil and MA degrees

from Yale University and a BA degree from McGill University.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      I am the President of the American Association of University Professors – Harvard

Faculty Chapter (“Harvard AAUP”). I have voluntarily served in this role since April 2024. I have

been an American Association of University Professors (“AAUP”) member since April 2024.

       5.      As a chapter of the AAUP, Harvard AAUP advocates for policies at Harvard that

promote the AAUP’s mission of advancing academic freedom and shared government, defining

professional values and standards for higher education, ensuring higher education’s contribution
to the common good, and safeguarding the economic security of faculty, academic professionals,

graduate students, post-doctoral fellows, and others engaged in teaching and research in higher

education.

          6.    Harvard AAUP is not aligned with any political party or ideology. Our members

have diverse political and personal beliefs, and we welcome that diversity.

          7.    All Harvard AAUP members are members of the AAUP.

          8.    I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and many other universities warning of potential enforcement actions. I am aware that on

March 31, 2025, the U.S. Department of Education (DOE), U.S. Department of Health and Human

Services (HHS), and U.S. General Services Administration (GSA) announced a comprehensive

review of federal contracts and grants at Harvard University and its affiliates. Most recently, I am

aware that on April 3, 2025, officials from the GSA, HHS, and DOE sent a letter to Harvard that

was made public and demanded that Harvard immediately take a long list of actions to remain a

recipient of federal funding (the “Demand Letter”). I have read the demands listed in the Demand

Letter.

          9.    I am also aware of a variety of “stop work” orders that have been issued by federal

funding agencies to grants held by researchers working at Harvard beginning in February 2025. I

am aware that on April 4, 2025, the Boston Globe reported on a federal government memorandum

issued March 31 that specified grants for specific research projects the current administration is

targeting. I know that some of these grants belong to AAUP members.

          10.   I am further aware of a variety of public statements made by the Trump administra-

tion beginning in January 2025 slandering the work of university researchers, impugning the




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integrity of the university, and making a variety of threats about the ways the federal government

intends to use its authority to impose a moving target list of demands on Harvard.

       11.     I am also aware of the cancellation of $400 million in federal grants and contracts

to Columbia University and the changes Columbia agreed to implement because of the Trump

administration’s cutting of funding and other demands. Everyone on Harvard’s campus seemed to

be aware of what was going on at Columbia; there was a lot of discussion, fear, and uncertainty. I

am also aware that even after Columbia capitulated to the Trump administration’s demands it still

wasn’t enough; Columbia’s federal funding has not been restored, and indeed, on April 9, the

National Institutes of Health announced that all its research grants to Columbia would be frozen

effective immediately.

       12.     It is my understanding that Harvard preemptively took a series of actions in antici-

pation of similar demands and threats to cancel its federal funding and in response to threats made

by the Trump administration targeted at Harvard as far back as January 2025.

       13.     I understand that Title VI and its implementing regulations require the government

to provide notice and opportunity for a hearing, followed by a finding on the record, before termi-

nating federal funding in any program or part thereof based on a violation of Title VI. I am not

aware of any such notice having been provided to any AAUP member to date.

       14.     I fear that the recent actions of the Trump administration will lead to Harvard mak-

ing decisions that stifle the ability of AAUP members to exercise their academic freedom and

freedom of speech to express differing viewpoints. I am also afraid of the profound negative im-

pacts the loss of Harvard’s federal funding would have on research across the campus.

Impact on AAUP as an Organization and on its Members

       15.     The series of actions the Trump administration has taken targeting Harvard have

already had negative impacts on AAUP as an organization.


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       16.     The Trump administration’s actions are also causing a drain on the AAUP’s re-

sources because the organization has to spend time dealing with crises and putting people in touch

with needed resources instead of doing the internal governance work that the AAUP usually does

within the university. For example, we were asked to cosponsor a training on digital surveillance

and information security for our members, and we are in the process of planning a Know Your

Rights workshop aimed specifically at faculty.

       17.     The AAUP has three guiding principles: academic freedom, governance, and eco-

nomic security. These are core objectives of the Harvard AAUP chapter that track the priorities of

AAUP national. Even a narrow interpretation of the capacious demands in the Demand Letter will

have severe impacts on each of these three areas, which I will discuss in turn.

Academic Freedom

       18.     This first AAUP principle involves upholding agreed upon norms and standards of

academic freedom for scholarly research and teaching.

       19.     Harvard has already taken actions in anticipation of the Trump administration in-

vestigating the university and threatening to withhold its federal funding. For example, on March

26, 2025—after the March 10, 2025 warning letter was sent to Harvard and other universities—

there was a very unusual firing of the Director and Associate Director of the Center for Middle

Eastern Studies. They were removed from their directorship positions at the Center, seemingly

based on a handful of accusations that their programming was “imbalanced” regarding Palestine.

Harvard also declined to renew a long-standing partnership between the Harvard School of Public

Health’s François-Xavier Bagnoud (FXB) Center for Health and Human Rights and Birzeit Uni-

versity in the West Bank.

       20.     Around the same time, Harvard declined to renew the annual contract of a colleague

who had served as Associate Director for the Religion, Conflict, and Peace Initiative at Harvard


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Divinity School. That colleague, who had led programming in Middle East Studies at Harvard for

23 years, was the only Palestinian-American employed at the Harvard Divinity School. The Reli-

gion, Conflict, and Peace Initiative was suspended.

       21.     I believe it reasonable to interpret all these actions as having been taken in antici-

pation of a Trump administration investigation. These were all programs criticized by the congres-

sional Committee on Education & the Workforce as being antisemitic, echoing inflammatory state-

ments by Harvard affiliates about many units of the Harvard Divinity School being “Hamas or

Palestinian embassies.” The fact that these programs were all shut down around the same time

raised grave concerns that legitimate inquiry regarding Israel and Palestine was being shut down

by Harvard as a result of threats made by the Trump administration to investigate the university.

       22.     What is likely to follow as a result of the Demand Letter presents an even greater

threat to academic freedom. The Demand Letter seeks to force Harvard to alter its criteria for hiring

and elevate voices of compliant faculty into administrative positions while marginalizing the roles

of “noncompliant” faculty.

       23.     I have two colleagues who have already changed their plans for the courses they

were going to teach in the fall out of self-preservation because their planned courses were on topics

explicitly disfavored by the Trump administration. They changed their curricular offerings to no

longer be explicitly about transgender issues in one case and no longer be explicitly about race in

the other.

Governance

       24.     This second AAUP principle involves advocating for robust shared governance at

universities according to guidelines and recommendations that AAUP national has established

over the course of the past century. These guidelines detail the joint responsibility of faculty,




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administrations, and governing boards to govern colleges and universities, and they note that

“when it comes to academic matters, a faculty decision should normally be the final decision.”

        25.     The governance and leadership reforms listed in the Demand Letter are a clear in-

fringement on the autonomy of Harvard to manage its personnel in the manner that is most condu-

cive to research and teaching at the university. Capitulation by Harvard to this demand would

constitute not shared governance, but governance by unlawful federal fiat.

        26.     The demand concerning Diversity, Equity, and Inclusion (DEI) programs in the

Demand Letter is vague. It will be interpreted, especially among non-tenure-track and other con-

tingent faculty who do not have the protections of tenure, as implying that any kind of teaching

and research related to race, ethnicity, racial equity, and identity, whether in a U.S. or global con-

text, is too risky and could lead to career-damaging consequences. This has obvious implications

for faculty who work in the field of U.S. history. It has immediate and devastating implications for

many faculty in the field of public health because much work in the public health field relates to

equity in some way This demand signals clearly that the Trump administration will target areas of

inquiry that it disfavors.

        27.     More than 800 Harvard faculty signed a letter urging Harvard not to cave into the

Trump administration’s demands. If the Harvard President and Office of General Counsel decide

to hand down unilateral decisions that restructure teaching and research at the university like Co-

lumbia did in response to the Trump administration demands, that will send a powerful and fright-

ening message about the shredding of well-established professional norms around shared govern-

ance in higher education. These are shared norms that have been in place for decades about how

university decision making happens.




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Economic security

       28.     This third AAUP principle involves advocating for the economic security of all

members of a university community so they can do their work under dignified and equitable eco-

nomic conditions.

       29.     Cutting $8.7 billion dollars in federal grant funding would leave no part of Harvard

untouched and would have catastrophic implications for the economic security and lives of vast

swathes of researchers, from post-graduate researchers to tenured faculty. The Harvard School of

Public Health is especially vulnerable—nearly 60% of their operating budget comes from spon-

sored support, including federal grants. The School of Public Health has already begun to shrink

admissions pools in their PhD programs, which will have lasting effects on the pipeline for future

scientific research, and grants funding subjects like vaccine hesitancy, LGBTQ health, and the

impact of racial discrimination on health outcomes have already been cut.

       30.     I am particularly fearful that colleagues who are coming up for tenure will be denied

tenure if their research falls under the broad areas for “reform” listed in the Demand Letter.

       31.     Harvard has already implemented a hiring freeze. It is my understanding that this

hiring freeze was implemented in part in anticipation of threats from the Trump administration to

cancel Harvard’s federal funding. This funding freeze has impacted me directly because it includes

a freeze on hiring new research assistants, which slows the pace of faculty research, as well as a

freeze on new tenure-track hiring, which means we cannot fill crucial teaching gaps in the history

department.

       32.     It is important to understand the way researchers who are funded by federal

grants—especially biomedical researchers, of whom we have numerous AAUP members and who

have explained to me in detail the implications of these threatened cuts for their work—organize

their careers. Biomedical research funded by federal grants is built upon a complex infrastructure


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of scientists, data analysts, administrators and trainees. It requires technical expertise that is devel-

oped over years of mentoring and is often held in the hands of specific experienced individuals.

Human samples are necessary for the work, and such samples are obtained at significant cost and

effort—to the researchers as well as to the study participants. This type of research therefore re-

quires planning years in advance. Part of that planning involves always having additional fundable

projects lined up to provide continuous resources for long-term research initiatives. So if federal

funding were precipitously withdrawn, it would not just be researchers’ current grants that were at

risk of cancellation, it would be years’ worth of future grants. This can be career ending; it may

well unrecoverably disrupt these researchers’ life work.

        33.     These threats are not unique to Harvard. Earlier this week, Cornell and Northwest-

ern had $1 billion and $800 million in federal funds frozen respectively, and Columbia, despite

having already agreed to many of the Trump administration’s demands, saw all its NIH grants

newly frozen.

Specific Impacts on Anonymous AAUP Members

        34.     As President of the Harvard AAUP chapter, I have heard from dozens of our mem-

bers who fear that federal funding cuts would severely disrupt their ability to conduct essential

academic research and teaching or whose speech has been chilled as a result of recent Trump

administration threats and demands directed at Harvard. Many of them, including the AAUP mem-

bers discussed below, are afraid to publicly testify about the impacts of these cuts and the chilling

of their speech because they fear retaliation from Harvard University, Harvard affiliates, or the

federal government.

        35.     Members, including those discussed below, have expressed fear that they will be

blacklisted from future federal grant funding, denied tenure or academic promotion, and/or face

retaliation against other members of their department or the students they advise. Certain members


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have expressed concern that because they or their family members are noncitizens, their visas or

green cards could be revoked in retaliation for their participation in this litigation. This section of

the declaration discusses the experiences of AAUP members without providing names because of

the reasonable fears of retaliation these members have expressed.

                                         AAUP Member #1

        36.     An AAUP member in the Faculty of Arts and Sciences changed their teaching plans

for next semester because they feared harassment.

        37.     This professor has been vocal in support of pro-Palestine student protestors and has

already experienced public targeting and harassment as a result; however, they have not previously

adjusted their public speech or teaching before this latest chilling wave of attacks from the federal

government.

        38.     The course they had planned to teach would have addressed the lead-up to the U.S.

Civil War; it would have dealt with topics including settler colonialism, slavery, Indian removal,

and the U.S.-Mexico War, all of which could reasonably be assumed to be covered by the federal

government’s demand that anything related to “DEI” be eliminated.

        39.     Additionally, the professor feared facing false accusations on Title VI grounds be-

cause the course would have explored the subject of white supremacy in American history.

                                         AAUP Member #2
        40.     Another AAUP member is a member of the faculty at Harvard Medical School.

        41.     This AAUP member has arranged to spend part of next year working outside the

United States because they do not feel comfortable being at Harvard anymore due to their pro-

Palestine advocacy and opinions. This member’s decision to spend part of next year working out-

side the United States is intended as a step towards their full transition outside of the United States.




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This means that the medical school and patients in the Harvard-affiliated hospital system will not

receive the benefit of this faculty member’s decades of clinical expertise.

                                            AAUP Member #3

       42.     Another AAUP member is a member of the faculty at Harvard Medical School.

They are an internationally recognized scholar in their field.

       43.     This faculty member attests that the current threat to precipitously withdraw sup-

port that has been promised by the federal government has already had a detrimental effect on the

atmosphere and conduct of biomedical research at the Medical School.

       44.     This faculty member has already seen administrative staff—those who are respon-

sible for tasks such as grants administration and human studies review—seek employment else-

where. They note that early career scientists who have completed multiple years of postgraduate

training are newly seeking career opportunities outside of basic research. Scientists with unique

and advanced skills are seeking positions outside of academia, because of uncertainty for their

future salary support. Projects that require the recruitment of human study participants are being

slowed for concern that the associated research project will not be continued to completion.

       45.     This faculty member attests that the institution has already halted seed grants that

are fundamental to initiating new projects and scientific collaborations. Harvard is encouraging

faculty to pursue philanthropic funding for their work, yet the type of research this faculty member

performs is unlikely to garner private funding.

       46.     This faculty member further attests that foundational scientific work that has taken

many years of human effort and institutional investment to reach its current state is being paused

in a manner that may fundamentally preclude the possibility of future research.




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       47.     This faculty member remains anonymous because absent federal funding, they will

need bridge funding from another source to maintain their research program. This funding may

originate from, or be directed by administrators from within, their institution, and they fear that

their actions might influence the possibility of receiving such support.

Impact on Student Speech and Academic Freedom

       48.     The recent Trump administration demands and threats targeted at Harvard also have

had a profound chilling effect on students at Harvard.

       49.     Graduate students are having to reorganize their research plans because funding

sources are drying up. A lot more doctoral research funding that graduate students depend on will

dry up if federal funds are withheld. This makes it very difficult to do academic work in any dis-

cipline because serious research requires multiple years of planning.

       50.     I can also provide numerous examples of the ways in which students have changed

their behavior as a result of threats from the Trump administration.

       51.     In one of my classes, students were recently talking about setting up a Signal group

for mutual support because they were terrified about the detention of Rumeysa Ozturk at Tufts

University close by. One student said they were too scared to even have the Signal app on their

phone because if their devices got searched at the border, they didn’t want border agents to think

they had something to hide by virtue of having the app. This fear prevents this student from par-

ticipating fully in their scholarly community.

       52.     When the Director and Associate Director of the Center for Middle Eastern Studies

were removed from their positions, there was a protest criticizing their removal. One of my noncit-

izen students told me he was walking through Harvard Yard when the demonstration was ongoing,

and when he saw there was a protest with cameras everywhere he pulled his hoodie over his face




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and fled in the opposite direction because he was so afraid of being photographed at a protest he

was not even involved in.

        53.     I know of undergraduate students who have changed their senior thesis topics—not

necessarily because they themselves are fearful of personal repercussions, but because their advi-

sors, in an effort to protect them, advised they research less controversial topics for their own

safety. This represents an internalization of the demands being imposed by the Trump administra-

tion; it is a textbook example of their chilling effects.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.




Dated: April 11, 2025                                   Signed: ___________________

                                                        Kirsten Weld
                                                        Professor of History




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